 Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 1 of 139 PageID #:3211



                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF ILLINOIS
                                         EASTERN DIVISION

GARCIA, et al.,                                                            )
                                                                           )    Case No. 12-CV-03687
                     Plaintiffs,                                           )
                                                                           )
          v.                                                               )    Judge: Hon. Joan B. Gottschall
                                                                           )
J.C. PENNEY CORPORATION, INC.,                                             )
                                                                           )
                     Defendant.                                            )

       INDEX OF EXHIBITS TO MEMORANDUM OF POINTS AND AUTHORITIES
       IN SUPPORT OF NAMED PLAINTIFFS’ UNOPPOSED MOTION FOR FINAL
          APPROVAL OF CLASS ACTION SETTLEMENT, SERVICE AWARDS,
                      AND ATTORNEYS’ FEES AND COSTS

Declaration of James C. Kostas In Support Of Named Plaintiffs’ Unopposed Motion for Final
Approval of Class Action Settlement, Service Awards, and Attorneys’ Fees and Costs ... Exhibit 1

          A) List of Kostas’ Past and Present Class Actions
          B) Class Action Settlement Agreement
                 1) Proposed Order Preliminarily Approving Settlement, Scheduling
                     Hearing for Final Approval and Approving Proposed Class Notice.
                 2) Proposed Class Notice.
                 3) Proposed Order Granting Final Approval of Class Settlement.
                 4) Implementation Schedule.

Declaration of Jeffrey L. Pirrung
(American Legal Claim Services, LLC Settlement Administration) .................................. Exhibit 2

Declaration of Douglas M. Werman ................................................................................... Exhibit 3

Declaration of Sheldon A. Ostroff In Support Of Named Plaintiffs’ Unopposed Motion for Final
Approval of Class Action Settlement, Service Awards, and Attorneys’ Fees and Costs ... Exhibit 4

                       A) Curriculum Vitae

Declaration of Laura Progo f/k/a Laura Garcia in Support of Plaintiffs’ Unopposed Motion
for Final Approval of Class Action Settlement, Service Awards, and Attorneys’
Fees and Costs .................................................................................................................... Exhibit 5

Declaration of Lore Rednour in Support of Plaintiffs’ Unopposed Motion for Final Approval of
Class Action Settlement, Service Awards, and Attorneys’ Fees and Costs........................ Exhibit 6
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 2 of 139 PageID #:3212




                   EXHIBIT 1
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 3 of 139 PageID #:3213
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 4 of 139 PageID #:3214
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 5 of 139 PageID #:3215
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 6 of 139 PageID #:3216
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 7 of 139 PageID #:3217
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 8 of 139 PageID #:3218
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 9 of 139 PageID #:3219
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 10 of 139 PageID #:3220
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 11 of 139 PageID #:3221
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 12 of 139 PageID #:3222
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 13 of 139 PageID #:3223
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 14 of 139 PageID #:3224
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 15 of 139 PageID #:3225
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 16 of 139 PageID #:3226
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 17 of 139 PageID #:3227
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 18 of 139 PageID #:3228
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 19 of 139 PageID #:3229
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 20 of 139 PageID #:3230
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 21 of 139 PageID #:3231
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 22 of 139 PageID #:3232
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 23 of 139 PageID #:3233
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 24 of 139 PageID #:3234
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 25 of 139 PageID #:3235
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 26 of 139 PageID #:3236
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 27 of 139 PageID #:3237
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 28 of 139 PageID #:3238
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 29 of 139 PageID #:3239
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 30 of 139 PageID #:3240
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 31 of 139 PageID #:3241
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 32 of 139 PageID #:3242
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 33 of 139 PageID #:3243
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 34 of 139 PageID #:3244
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 35 of 139 PageID #:3245
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 36 of 139 PageID #:3246
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 37 of 139 PageID #:3247
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 38 of 139 PageID #:3248
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 39 of 139 PageID #:3249
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 40 of 139 PageID #:3250
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 41 of 139 PageID #:3251
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 42 of 139 PageID #:3252
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 43 of 139 PageID #:3253
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 44 of 139 PageID #:3254
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 45 of 139 PageID #:3255
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 46 of 139 PageID #:3256
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 47 of 139 PageID #:3257
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 48 of 139 PageID #:3258
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 49 of 139 PageID #:3259
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 50 of 139 PageID #:3260
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 51 of 139 PageID #:3261
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 52 of 139 PageID #:3262
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 53 of 139 PageID #:3263
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 54 of 139 PageID #:3264
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 55 of 139 PageID #:3265
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 56 of 139 PageID #:3266
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 57 of 139 PageID #:3267
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 58 of 139 PageID #:3268
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 59 of 139 PageID #:3269
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 60 of 139 PageID #:3270
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 61 of 139 PageID #:3271
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 62 of 139 PageID #:3272
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 63 of 139 PageID #:3273
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 64 of 139 PageID #:3274
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 65 of 139 PageID #:3275
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 66 of 139 PageID #:3276
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 67 of 139 PageID #:3277
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 68 of 139 PageID #:3278
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 69 of 139 PageID #:3279
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 70 of 139 PageID #:3280
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 71 of 139 PageID #:3281
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 72 of 139 PageID #:3282
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 73 of 139 PageID #:3283
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 74 of 139 PageID #:3284
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 75 of 139 PageID #:3285
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 76 of 139 PageID #:3286
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 77 of 139 PageID #:3287
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 78 of 139 PageID #:3288
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 79 of 139 PageID #:3289
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 80 of 139 PageID #:3290
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 81 of 139 PageID #:3291
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 82 of 139 PageID #:3292




                   EXHIBIT 2
    Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 83 of 139 PageID #:3293

                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DISTRICT

GARCIA et al.,                                            )
                                                          )
                                                          )   Case No. 12-CV-03687
                                                          )
                        Plaintiffs,                       )   Judge: Hon. Joan B. Gottschall
                                                          )
v.                                                        )
                                                          )
J.C. Penney Corporation, Inc.                             )
                                                          )
                                                          )
                        Defendant.                        )



              DECLARATION OF AMERICAN LEGAL CLAIM SERVICES, LLC
                        SETTLEMENT ADMINISTRATION

        I, Jeffrey L. Pirrung, declare as follows:
     1. I am a competent adult, over the age of eighteen, and this declaration is based on my personal
        knowledge.

     2. I am an employee of American Legal Claim Services, LLC (“ALCS”). ALCS was appointed
        by the Court to serve as the Settlement Administrator to administer the terms of the Settlement
        Agreement. I was principally responsible for overseeing the dissemination of notice to the
        Class; establishing and maintaining a telephone and email assistance program; and processing
        requests for inclusion and exclusion.

        Noticing

     3. On March 22, 2017, the proposed settlement was filed with the Court. ECF, No. 208-1. On
        March 29, 2017, ALCS mailed Notice of Proposed Class Action Settlement Under 28 U.S.C. §
        1715 (“CAFA Notice”) to the attorneys general of 48 states plus the District of Columbia, the
        US Virgin Islands and the Attorney General of the United States via certified mail through the
        US Postal Service. A list of recipients is attached hereto as Exhibit A. The CAFA Notice
        package contained a copy of the letter attached hereto as Exhibit B as well as a CD-Rom that
        included the following: 1) the Complaint, First Amended Class Action Complaint, Second
        Amended Class Action Complaint, and Third Amended Class Action Complaint, along with all
        materials filed therein; 2) a copy of the proposed Notice to Class Members of Proposed
        Settlement of Class Action that was attached as Exhibit 2 to the Settlement Agreement; 3)
        Motion for Preliminary Approval and Settlement Agreement and Release (with exhibits); and
        4) an order from the related case Tschudy v. J.C. Penney Corporation, Inc., Case No. 11cv1011
        JM (KSC) (S.D. Cal.) granting JCPenney’s motion to sever the Illinois Plaintiffs and transfer
        venue of their claims to Illinois, along with a letter from the Southern District of California’s


                                                     1 
 
    Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 84 of 139 PageID #:3294

              Clerk of Court effecting the same; and a list of states in which Class Members reside along with
              estimated share of the settlement by state.

       4. Class Counsel provided ALCS with a list of Class Members and their respective distribution
          amounts. Subsequently, counsel for the Defendant provided a list of the class members along
          with their mailing addresses and social security numbers. From these two lists, ALCS prepared
          the final mailing list that was used to send the Class Notice. The preparation for mailing by
          ALCS included running the list against multiple commercially reasonable means available to
          assist in locating current addresses, standardizing addresses, etc.

       5. The Class List was specifically processed using the United States Postal Service (“USPS”)
          National Change of Address database. Names and addresses were also processed using skip
          trace methodologies and other search engine databases. Addresses were finally processed using
          USPS approved software, which standardizes the addresses and enhances opportunities for
          delivery through the use of an intelligent mail barcode.

       6. Pursuant to the Settlement Agreement, on April 5, 2017 ALCS mailed the Class Notice,
          substantially in the form attached to the Settlement Agreement as Exhibit 2, via USPS first-
          class mail postage prepaid, to all 38,465 Class Members.

       7. ALCS processed all mail returned by the USPS. Any Class Notice returned to the Administrator
          as non-delivered was re-mailed to the forwarding address affixed thereto. If no forwarding
          information was provided by the USPS, ALCS utilized commercially reasonable means to
          obtain a current address and promptly re-mailed Class Notices where updated current addresses
          were found. If an updated address was not found or if the re-mailed package was returned by
          the USPS a second time it was not re-mailed a third time and was deemed undeliverable.

       8. Of the 38,465 Notice Packages initially mailed, 3,284 were returned by the USPS and processed
          by ALCS, as of June 7, 2017. 3,232 had forwarding information attached or an updated address
          was found using commercially reasonable means. ALCS re-mailed the Notice Packages to the
          forwarding address. 953 Class Notices were deemed undeliverable per ¶ 6.2 of the Settlement
          Agreement. Although ALCS continues to receive undeliverable Class Notices and anticipates
          that the total number deemed undeliverable to increase, for purposes of distribution, any
          claimant whose Class Notice is deemed undeliverable after June 7, 2017 will not be excluded
          from the distribution process.

       9. The following is a summary of the noticing associated with this Class, as of June 7, 2017:

                            Number initially mailed: 38,465
                            Number re-mailed: 3,284
                            Total number of Class Notices deemed undeliverable (including re-mailed Class
                             Notices): 9531
                            Percentage of Class Notices deemed undeliverable: 2.5%1

              Request for Exclusion
                                                            
              1
        ALCS continues to receive and process mail, for which no forwarding address is available.
The number of pieces of this type of mail will likely increase and the presumed delivery rate will be
reduced as processing continues.
 
                                                               2 
 
    Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 85 of 139 PageID #:3295



     10. Per ¶ 7.2 of the Settlement Agreement, the Class Notice informed Class Members that they
         may exclude themselves from the Agreement. It further stated that Class Members who wish
         to exclude themselves must submit a written statement requesting exclusion, the request must
         be signed and include name, address, telephone number, and the last 4 digits of the Social
         Security number or employee identification number. The postmark deadline for valid Requests
         for Exclusion was June 5, 2017. As of June 7, 2017, 11 valid Requests for Exclusion were
         received and processed by ALCS.

        Request for Inclusion in Class
     11. As of June 7, 2017, ALCS did not receive any requests from individuals, who were not included
         in the class list, to be included in the settlement.
        Telephone and Email Assistance Program

     12. ALCS established a dedicated toll-free phone number to provide answers to Class Member
         questions. The toll-free number provided a voice response unit listing of questions and answers
         to frequently asked questions and the option to leave a message for follow up by a live agent.
         As of June 7, 2017, ALCS received 261 calls regarding the Settlement.

     13. ALCS also established a case specific email account to provide Class Members a means of
         submitting questions in writing. As of June 7, 2017, 83 emails were received by Class
         Members. ALCS agents reviewed the emails and responded to each within a reasonable amount
         of time.

        Objections

     14. The Class Notice informed Class Members that if they wish to object to the Agreement they
         must provide a written statement to the Court and serve it upon Counsel for the Parties before
         the deadline of June 5, 2017. As of the date of this declaration there have been no known
         Objections filed with the Court or served upon Counsel to the Parties.

        Distribution Model

     15. The following model shows the mechanics of the distribution of settlement funds. The pro-
         rata percentage allotted to each Class Member has been adjusted to reallocate the amounts
         originally allocated to 1) Class Members whose Class Notices were deemed undeliverable per
         ¶ 6.2 of the Settlement Agreement as of June 7, 2017, which amounted to $54,342.07 and 2)
         Class Members who requested to be excluded from the settlement, which amounted to $771.51.
         In total, $55,113.58 was reallocated due to undeliverable Class Notice or voluntary exclusion
         from the settlement.


                         PRELIMINARY DISTRIBUTION MODEL 
                              Payee                             Amount 

                        Maximum Settlement Fund:                      $5,000,000.00  

                        Class Counsel Attorney Fees:                 ($1,750,000.00) 

                                                       3 
 
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 86 of 139 PageID #:3296
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 87 of 139 PageID #:3297




                                         
                                   EXHIBIT A 
                                         
                      RECIPIENTS OF THE CAFA NOTICE 
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 88 of 139 PageID #:3298


                                       Exhibit A‐ CAFA Recipients
             United States
             JEFF SESSIONS              US ATTORNEY GENERAL

             Territories of the United States
             CLAUDE E WALKER                ATTORNEY GENERAL OF US VIRGIN ISLANDS
             KARL A RACINE                  OF DISTRICT OF COLUMBIA

             States
             STEVE MARSHALL             ATTORNEY GENERAL OF ALABAMA
             JAHNA LINDEMUTH            ATTORNEY GENERAL OF ALASKA
             MARK BRNOVICH              ATTORNEY GENERAL OF ARIZONA
             LESLIE RUTLEDGE            ATTORNEY GENERAL OF ARKANSAS
             XAVIER BECERRA             ATTORNEY GENERAL OF CALIFORNIA
             CYNTHIA H COFFMAN          ATTORNEY GENERAL OF COLORADO
             GEORGE JEPSEN              ATTORNEY GENERAL OF CONNECTICUT
             MATTHEW DENN               ATTORNEY GENERAL OF DELAWARE
             PAM BONDI                  ATTORNEY GENERAL OF FLORIDA
             CHRIS CARR                 ATTORNEY GENERAL OF GEORGIA
             LAWRENCE WASDEN            ATTORNEY GENERAL OF IDAHO
             LISA MADIGAN               ATTORNEY GENERAL OF ILLINOIS
             CURTIS T HILL JR           ATTORNEY GENERAL OF INDIANA
             THOMAS MILLER              ATTORNEY GENERAL OF IOWA
             DEREK SCHMIDT              ATTORNEY GENERAL OF KANSAS
             ANDY BESHEAR               ATTORNEY GENERAL OF KENTUCKY
             JEFF LANDRY                ATTORNEY GENERAL OF LOUISIANA
             BRIAN FROSH                ATTORNEY GENERAL OF MARYLAND
             MAURA HEALEY               ATTORNEY GENERAL OF MASSACHUSETTS
             BILL SCHUETTE              ATTORNEY GENERAL OF MICHIGAN
             LORI SWANSON               ATTORNEY GENERAL OF MINNESOTA
             JIM HOOD                   ATTORNEY GENERAL OF MISSISSIPPI
             JOSHUA D HAWLEY            ATTORNEY GENERAL OF MISSOURI
             TIM FOX                    ATTORNEY GENERAL OF MONTANA
             DOUG PETERSON              ATTORNEY GENERAL OF NEBRASKA
             ADAM PAUL LAXALT           ATTORNEY GENERAL OF NEVADA
             JOSEPH A FOSTER            ATTORNEY GENERAL OF NEW HAMPSHIRE
             CHRISTOPHER S PORRINO      ATTORNEY GENERAL OF NEW JERSEY
             HECTOR BALDERAS            ATTORNEY GENERAL OF NEW MEXICO
             ERIC SCHNEIDERMAN          ATTORNEY GENERAL OF NEW YORK
             JOSH STEIN                 ATTORNEY GENERAL OF NORTH CAROLINA
             WAYNE STENEHJEM            ATTORNEY GENERAL OF NORTH DAKOTA
             MIKE DEWINE                ATTORNEY GENERAL OF OHIO
             MIKE HUNTER                ATTORNEY GENERAL OF OKLAHOMA
             ELLEN F ROSENBLUM          ATTORNEY GENERAL OF OREGON
             JOSH SHAPIRO               ATTORNEY GENERAL OF PENNSYLVANIA
             PETER KILMARTIN            ATTORNEY GENERAL OF RHODE ISLAND
             ALAN WILSON                ATTORNEY GENERAL OF SOUTH CAROLINA
             MARTY J JACKLEY            ATTORNEY GENERAL OF SOUTH DAKOTA
             HERBERT H SLATERY          ATTORNEY GENERAL OF TENNESSEE
             KEN PAXTON                 ATTORNEY GENERAL OF TEXAS
             SEAN REYES                 ATTORNEY GENERAL OF UTAH
             TJ DONOVAN                 ATTORNEY GENERAL OF VERMONT
             MARK HERRING               ATTORNEY GENERAL OF VIRGINIA
             BOB FERGUSON               ATTORNEY GENERAL OF WASHINGTON
             PATRICK MORRISEY           ATTORNEY GENERAL OF WEST VIRGINIA
             BRAD SCHIMEL               ATTORNEY GENERAL OF WISCONSIN
             PETER K MICHAEL            ATTORNEY GENERAL OF WYOMING
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 89 of 139 PageID #:3299




                                         
                                   EXHIBIT B 
                                         
            COVER LETTER INCLUDED IN CAFA NOTICE PACKET 
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 90 of 139 PageID #:3300




                                                                                     Catherine A. Conway
                                                                                     Direct: +1 213.229.7822
                                                                                     Fax: +1 213.229.6822
                                                                                     CConway@gibsondunn.com




 March 29, 2017


 VIA CERTIFIED MAIL

  To: All “Appropriate” Federal and State Officials Per 28 U.S.C.
  Section 1715 (see attached distribution list)

 Re:    Notice of Proposed Class Action Settlement Under 28 U.S.C. § 1715: Garcia, et al. v.
        J.C. Penney Corporation, Inc., Case No. 12-CV-03687 (N.D. Ill.)

 Dear Sir or Madam:

 As counsel for and on behalf of J.C. Penney Corporation, Inc. (“JCPenney” or “Defendant”),
 I write to provide notice under the Class Action Fairness Act of 2005 (“CAFA”), 28 U.S.C. §
 1711 et seq., of a proposed class action settlement between Defendant and Plaintiffs
 (collectively, the “Parties”) in the above-referenced matter pending in the United States
 District Court for the Northern District of Illinois. A settlement agreement that, if approved,
 would resolve all pending claims in Garcia, et al. v. J.C. Penney Corporation, Inc., Case No.
 12-CV-03687 (N.D. Ill.) was filed on March 22, 2017.

 The Garcia class action lawsuit alleges that Defendant’s “My Time Off” vacation policy
 violates the Illinois Wage Payment and Collection Act. JCPenney has denied and continues
 to deny any wrongdoing whatsoever and asserts that its policies and practices complied with
 Illinois law. The parties’ Class Action Settlement and Release (the “Settlement Agreement”)
 provides that it is not an admission of wrongdoing, and JCPenney is not altering any of its
 policies or procedures as a condition of the settlement.

 On July 29, 2016, counsel for Plaintiffs and counsel for Defendant engaged in a mediation
 with David Rotman. Following the mediation, the parties continued settlement negotiations.
 On September 9, 2016, the parties filed a Joint Notice of Settlement and Stipulation to Stay
 with the Court after the parties reached an agreement in principle to settle the case. Since
 then, the parties continued negotiating the terms of the Settlement Agreement, which the
 parties finalized on March 1, 2017. On March 22, 2017, Plaintiffs filed a Motion for
 Preliminary Approval of the finalized Settlement Agreement with the Court.

 28 U.S.C. § 1715(b) lists eight items that must be provided to you in connection with any
 proposed class action settlement. Each of these items is addressed below:
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 91 of 139 PageID #:3301




 March 29, 2017
 Page 2

      1. 28 U.S.C. § 1715 (b)(l): A copy of the complaint and any materials filed with the
         complaint and any amended complaints.

          The Complaint, First Amended Class Action Complaint, Second Amended Class
          Action Complaint, and Third Amended Class Action Complaint, along with all
          materials filed therein, are provided in electronic form on the enclosed CD as Exhibit
          A.1

      2. 28 U.S.C. § 1715 (b)(2): Notice of any scheduled judicial hearing in the class action.

          The Parties have proposed March 29, 2017 as the date for the Court to hold a hearing
          for preliminary approval of the Settlement Agreement. A copy of the Motion for
          Preliminary Approval, which includes the Settlement Agreement and Release (with
          Exhibits) requesting this hearing is provided on the enclosed CD as Exhibit B.

      3. 28 U.S.C. § 1715(b)(3): Any proposed or final notification to class members.

          A copy of the proposed Notice to Class Members of Proposed Settlement of Class
          Action that will be provided to class members by first-class mail is provided on the
          enclosed CD as Exhibit 2 to the Motion for Preliminary Approval (Exhibit B on the
          enclosed CD). This Notice describes the class members’ right to exclude themselves
          from the class.

      4. 28 U.S.C. § 1715(b)(4): Any proposed or final class action settlement.

          The proposed class action settlement is set forth in the Motion for Preliminary
          Approval and Settlement Agreement and Release (with exhibits), a copy of which is
          provided on the enclosed CD as Exhibit B.

      5. 28 U.S.C. § 1715(b)(5): Any settlement or other agreement contemporaneously made
         between class counsel and counsel for defendants.

          Class counsel and counsel for J.C. Penney Corporation, Inc. are currently in the
          process of finalizing a settlement in a related case pending in the Southern District of
          California, Tschudy v. J.C. Penney Corporation, Inc., Case No. 11cv1011 JM (KSC)
          (S.D. Cal.). As that settlement agreement has not yet been filed with the court, there
          are no documents currently available.

      6. 28 U.S.C. § 1715(b)(6): Any final judgment or notice of dismissal.

          There has been no final judgment or notice of dismissal. Accordingly, no such
          document is currently available. A copy of a Proposed Order Granting Final

  1
      This action was severed from a related case, Tschudy v. J.C. Penney Corporation, Inc., Case No. 11cv1011
      JM (KSC), which was brought in the Southern District of California. See Exhibit D on the enclosed CD.
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 92 of 139 PageID #:3302




 March 29, 2017
 Page 3

        Approval of Class Action Settlement and Judgment of Dismissal has been tendered to
        the Court, and is provided on the enclosed CD as Exhibit 3 to the Motion for
        Preliminary Approval and Settlement Agreement (Exhibit B on the enclosed CD).

    7. 28 U.S.C. § 1715(b)(7): (a) If feasible, the names of class members who reside in
       each State and the estimated proportionate share of the claims of such members to the
       entire settlement to that State’s appropriate State official; or (b) if the provision of the
       information under subparagraph (a) is not feasible, a reasonable estimate of the
       number of class members residing in each State and the estimated proportionate share
       of the claims of such members to the entire settlement.

        The names of class members who reside in each state and the estimated proportionate
        share of the claims of such members to the entire settlement are provided on the
        enclosed CD as Exhibit C.

    8. 28 U.S.C. § 1715(b)(8): Any written judicial opinion relating to the materials
       described in 28 U.S.C. § 1715(b), subparagraphs (3) through (6).

        An order from the related case Tschudy v. J.C. Penney Corporation, Inc., Case No.
        11cv1011 JM (KSC) (S.D. Cal.) granting JCPenney’s motion to sever the Illinois
        Plaintiffs and transfer venue of their claims to Illinois, along with a letter from the
        Southern District of California’s Clerk of Court effecting the same, is provided on the
        enclosed CD as Exhibit D. There are no other written judicial opinions relating to the
        materials described in 28 U.S.C. § 1715(b) subparagraphs (3) through (6) at this time.

 Any materials relating to the proposed settlement that are filed after the service of this notice
 can be found by visiting the “CM/ECF” online docket for the above-captioned case at
 https://ecf.ilnd.uscourts.gov/cgi-bin/ShowIndex.pl. These materials will also be made
 available at the settlement website, which the Parties are in the process of creating. If you
 have any questions or requests about this notice, the Garcia class action lawsuit, or the
 enclosed materials, please do not hesitate to contact me.


 Sincerely,



 Catherine A. Conway

 CAC/bm

 Attachment and Enclosure

 cc: Attached Service List
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 93 of 139 PageID #:3303




                   EXHIBIT 3
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 94 of 139 PageID #:3304
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 95 of 139 PageID #:3305
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 96 of 139 PageID #:3306
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 97 of 139 PageID #:3307
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 98 of 139 PageID #:3308
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 99 of 139 PageID #:3309
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 100 of 139 PageID #:3310
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 101 of 139 PageID #:3311
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 102 of 139 PageID #:3312




                    EXHIBIT 4
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 103 of 139 PageID #:3313
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 104 of 139 PageID #:3314
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 105 of 139 PageID #:3315
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 106 of 139 PageID #:3316
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 107 of 139 PageID #:3317
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 108 of 139 PageID #:3318
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 109 of 139 PageID #:3319
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 110 of 139 PageID #:3320
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 111 of 139 PageID #:3321
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 112 of 139 PageID #:3322
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 113 of 139 PageID #:3323
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 114 of 139 PageID #:3324
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 115 of 139 PageID #:3325
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 116 of 139 PageID #:3326
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 117 of 139 PageID #:3327
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 118 of 139 PageID #:3328
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 119 of 139 PageID #:3329
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 120 of 139 PageID #:3330
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 121 of 139 PageID #:3331
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 122 of 139 PageID #:3332
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 123 of 139 PageID #:3333
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 124 of 139 PageID #:3334
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 125 of 139 PageID #:3335
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 126 of 139 PageID #:3336
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 127 of 139 PageID #:3337
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 128 of 139 PageID #:3338




                    EXHIBIT 5
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 129 of 139 PageID #:3339
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 130 of 139 PageID #:3340
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 131 of 139 PageID #:3341
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 132 of 139 PageID #:3342
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 133 of 139 PageID #:3343
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 134 of 139 PageID #:3344




                    EXHIBIT 6
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 135 of 139 PageID #:3345
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 136 of 139 PageID #:3346
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 137 of 139 PageID #:3347
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 138 of 139 PageID #:3348
Case: 1:12-cv-03687 Document #: 217-1 Filed: 06/30/17 Page 139 of 139 PageID #:3349
